          Case 2:21-cv-01283-BWA Document 7 Filed 11/15/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  COLUMBUS CHRIS WILLIAMS                                           CIVIL ACTION
  VERSUS                                                            NO. 21-1283
  TERREBONNE PARISH’S SHERIFF’S                                     SECTION M(4)
  OFFICE, ET AL.

                                           ORDER

       Having considered the complaint, the record, the applicable law, the Report and

Recommendation (“R&R”) of the United States Magistrate Judge (R. Doc. 6), and the failure of

any party to file an objection to the R&R, the Court hereby approves the R&R and adopts it as its

opinion in this matter. Therefore,

       IT IS ORDERED that Columbus Chris Williams’s 42 U.S.C. § 1983 complaint is

DISMISSED WITH PREJUDICE under the Federal Rule of Civil Procedure 41(b) for failure to

prosecute.

       New Orleans, Louisiana, this 15th day of November, 2021.


                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE
